                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )    No. 3:09-CR-38
                                                     )    (VARLAN/SHIRLEY)
LISA LOCKRIDGE,                                      )
                                                     )
                       Defendant.                    )


                                MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This matter is before the Court on Defendant Lisa Lockridge’s Motion to

Continue [Doc. 34] and Motion for Extension of Time to File Pretrial Motions. [Doc. 35] On

August 13, 2009, the parties appeared before the Court for a hearing on the instant motions.

Assistant United States Attorney David Lewen appeared on behalf of the government, and Attorney

Mike Whalen appeared on behalf of the defendant. The defendant was not present.

       The defendant moves the Court to continue the trial in this matter, currently scheduled for

August 25, 2009, and also moves the Court to extend the motion deadline. As grounds, the

defendant states that this case involves three defendants,1 and that Defendant Lockridge was brought

into the case several months after her co-defendants and after the deadlines and trial date had been



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         The Court notes that one of the two co-defendants, Charles Ward, has entered a guilty
plea in this matter and is awaiting sentencing. [Doc. 31] In addition, during the hearing, the
Court was advised by counsel for the government that co-defendant Lucretia Buchanan is
scheduled to enter a plea of guilty on August 17, 2009.


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set. Additionally, defense counsel argues that Defendant Lockridge resides in a group home in

Nashville and that the distance between the defendant and defense counsel has hampered counsel’s

ability to investigate this matter and communicate with his client. Finally, defense counsel advised

the Court that additional time would be needed for counsel to review discovery with the defendant.

At the hearing, the government indicated that it does not oppose the instant motions.

       For good cause shown, the Court finds that the ends of justice served by a continuance

outweigh the interest of the defendant and the public in a speedy trial. See 18 U.S.C. §

3161(h)(7)(A). Specifically, the Court finds that failure to grant a continuance under these

circumstances would deny the defendant the reasonable time necessary for effective preparation for

trial, resulting in a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i),(iv). The Court finds

that additional time is needed to allow the defendant to review the evidence in this matter and for

the parties to prepare for trial. The Court finds that this could not take place before the August 25,

2009 trial date, or in less than approximately two months.

       Therefore, the defendant’s Motion to Continue [Doc. 34] is hereby GRANTED, and the trial

in this matter is hereby CONTINUED to October 20, 2009. The Court further finds, and the parties

agreed, that all time between the August 10, 2009 filing of the instant motion and the new trial date

of October 20, 2009, is fully excludable time under the Speedy Trial Act.           See 18 U.S.C. §

3161(h)(1)(D), -(7)(A)-(B)(i),(iv). In an abundance of caution, the Court also notes that the

excludable time attributable to Defendant Lockridge is also attributable to her co-defendants. 18

U.S.C. § 3161(h)(6); United States v. Gardner, 488 F.3d 700, 717 (6th Cir. 2007).

       The Court also finds that the defendant’s Motion for Extension of Time to File Pretrial

Motions [Doc. 35] is well taken, and the same is hereby GRANTED. The motion deadline as to


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Defendant Lockridge is extended to September 15, 2009, with the government’s responses due on

or before September 29, 2009. The plea cut-off as to Defendant Lockridge is extended to October

8, 2009. A final pretrial conference is scheduled for October 8, 2009, at 9:30 a.m.

       In summary, it is ORDERED that:

              (1) Defendant Lockridge’s Motion to Continue [Doc. 34] and
              Motion for Extension of Time to File Pretrial Motions [Doc. 35] are
              GRANTED;

              (2) The trial of this matter is reset to commence on October 20,
              2009, at 9:00 a.m., before the Honorable Thomas A. Varlan, United
              States District Judge;

              (3) All time between the August 10, 2009 filing of the motion to
              continue and the new trial date of October 20, 2009, is fully
              excludable time under the Speedy Trial Act for the reasons set forth
              above; and

              (4) The motion deadline is extended to September 15, 2009, with
              any responses due on or before September 29, 2009. The plea cut-
              off deadline is reset to October 8, 2009, and the final pretrial
              conference is reset for October 8, 2009, at 9:30 a.m.

       IT IS SO ORDERED.

                                                    ENTER:


                                                      s/ C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




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